Case 1:24-cv-00094-NRM-LB Document 13 Filed 07/23/24 Page 1 of 9 PagelD #: 213

UNITED STATES DISTRICT COURT

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225 CADMAN PLAZA EAST

BROOKLYN N.Y. 11201

YOEL GRUEN

Vs.

AHUVA GRUEN, et al

DOCKET NO. 1:24-cv-00094-NRM-LB
TO THE HONORABLE JUDGES:

| THE PLAINTIFF YOEL GRUEN AM FILING CORRESPONDENCE TO THE COURT REGARDING

DEFENDANT GREGORY GLIEDMAN AND DEFENDANT JACOB SILVER.

Ac Z AD. MAY

YOEL GRUEN DATE

'RU SE OFFICE 71>) |1o2F

DANIEL GIL
Notary Public - State of New York
NO. 01616422907
Qualified in Kings County
f My Commission Expires Oct 4, 2025
Case 1:24-cv-00094-NRM-LB Document 13 Filed 07/23/24 Page 2 of 9 PagelD #: 214

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EASTERN DISTRICT OF NEW YORK
225 CADMAN PLAZA EAST

BROOKLYN N.Y 11201

YOEL GRUEN
Vs.

AHUVA GRUEN et, al

DOCKET NUMBER 1:24-cv—00094-NRM-LB

AMENDMENT TO PLAINTIFF’S 2.6.2024 LETTER

TO THE HONORABLE JUDGES NINA R. MORRISON AND MAGISTRATE JUDGE LOIS BLOOM:

| AM ASKING THE FEDERAL COURT THE UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW
YORK TO RECUSE JUDGE GREGORY GLIEDMAN EFFECTIVE IMMEDIATIETLY IN MY CASE FAMILY COURT IN
THE STATE OF NEW YORK COUNTY OF KINGS 330 JAY STREET BROOKLYN NY 11201 FILE NUMBER 293571
BECAUSE JUDGE GREGORY GLIEDMAN IS BIASED AND DENING ME THE PLAINTIFF DUE PROCESS BY

CONTINUING

1. TO FORCE ME THE PLAINTIFF TO BE REPRESENTED BY A COURT APPOINTED LAWYER MR JACOB
SILVER WHOM I CLEARLY FIRED ON 3.30.2022 DUE TO THE FACT THAT

A. MR JACOB SILVER WAS HARRASSING ME AND ACTING LIKE HE WAS THE LAWYER FOR THE
DEFENDANT AHUVA GRUEN AND CLEARLY STATED IN COURT ON THE RECORD THAT HE
WORKED AND IS PRESENTLY WORKING FOR SHALOM TASK FORCE AS A LAWYER. SHALOM
TASK IS REPRESENTING THE DEFEDANT AHUVA GRUEN THIS IS CLEARLY A CONFLICT OF
INTEREST.
B. MR JACOB SILVER CONTINOUSLY HARRASSES ME THE PLAINTIFF TO PAY MORE AND MORE
CHILD SUPPORT STATING “JUST PAY HER MORE MONEY GET THE MONEY FROM YOUR FAMILY
AND GIVE THE DEFENDANT AHUVA GRUEN A GET EVEN WITHOUT AN AGREEMENT” THIS IS
NONE OF MR JACOB SILVER’S BUSINESS AND NOT BEING HEARD BEFORE THIS COURT OF HOW
MUCH MONEY MY BROTHERS AND SISTERS HAVE. MR SILVER SHOULD NOT BE HARRASSING
ME 1 AM A UNFOURTUATE DISABLED VICTIM WHO IS CONSTANTLY BEING HARRASSED BY
DEFENDANT AHUVA GRUEN. AHUVA GRUEN THE DEFENDANT HAS PERSONALY THREATENED
TO KILL ME THE PLAINTIFF AND I THE PLAINTIFF BELIEVE THE SHE WILL ACCOMPLISH HER EVIL
MISSION. MR JACOB SILVER CLEARLY HAS NO INTEREST IN DEFENDING ME AND | AM BEING
DENIED DUE PROCESS BY JUDGE GREGORY GLIEDMAN FORSING MR. JACOB SILVER TO
CONTINUE BEING AT MY COURT PROCEEDINGS AND ACTING AS MY LAWYER AGAINST MY
WILL.

2. JUDGE GREGORY GLIEDMAN IS FORCING ME THE PLAINTIFF TO UNDERGO A PSYICHLOGICAL
EVALUATION TO SEE IF | THE PLAINTIFF WHO IS THE VICTIM IN THIS PROCEEDING AM FIT TO
REPRESENT MY SELF THIS IS A DENIAL OF MY PRIVACY AND JUDGE GREGORY GLIEDMAN IS
ASKING ME TO TESTIFY AGAINST MYSELF. IT IS MY FIFTH AMENDEMENT CONSTITUTIONAL
RIGHT AGAINST SELF INCRIMINATION WHICH STATES
“NOR SHALL BY COMPELLED IN ANY CRIMINAL CASE TO BE A WITNESS AGAINST HIMSELF, NOR
BE DEPRIVED OF LIFE, LIBERTY OR PROPERTY WITHOUT DUE PROCESS OF LAW” ALL! WANT IS
FOR MY EQUALLY FAIR DAY IN COURT AND FOR JUSTICE TO BE SERVED. JUDGE GREGORY
GLIEDMAN IS ASKING ME TO VIOLATE MY OWN CONSTITUTIONAL RIGHTS. UNFORTUATELY THIS
IS HOW MEN ARE TREATED IN FAMILY COURTS, THE APPELLATE COURTS, THE SUPREME COURTS,
THE COURT OF APPEALS COMMISION OF JUDICIAL CONDUCT, | HAVE GONE TO ALL THESE
COURTS AS WELL AS MOST MEN AND HAVE BEEN DENIED JUSTICE AND DUE PROCESS AND A
EQUAL FAIR DAY IN COURT. THESE COURTS ARE FAVORING WOMEN AND NOT GIVING AN EQUAL
OPPORTUNITY FOR A MAN/FATHER TO SEEK EQUAL JUSTICE AND DUE PROCESS WITHOUT
VIOLATION OF A MAN’S DUE PROCESS IN THESE AMERICAN COURTS.THIS IS WHY | AM ASKING
THIS FEDERAL COURT UNITED STATES DISTRICT COURT EASTERN DISTRICT OF NEW YORK TO
RECUSE GREGORY GLIEDMAN EFFECTIVE IMMEDIATELY. GREGORY GLIEDMAN IS ABUSING HIS
AUTHORITY AS A JUDGE AND | SERVED HIM [ EXHIBIT #1} VIA U.S.P.S AND EMAIL ON 7.22.2024
AND MR JACOB SILVER A CEAST AND DESIST LETTER.
Case 1:24-cv-00094-NRM-LB Document 13 Filed 07/23/24 Page 4 of 9 PagelD #: 216

TO DATE | THE PLAINTIFF HAVE FILED IN THIS COURT:

GUO FP

ON 1.2.2024 PLAINTIFF FILED COMPLAINT

ON 1.8.2024 PLAINTIFF FILED NOT TO CONSENT TO MAGISTRATE JUDGE JURISDICTION

ON 2.6.2024 PLAINTIFF FILED AGAINST DEFENDANT JUDGE GREGORY GLIEDMAN

ON 3.19.2024 PLAINTIFF FILED FOR DEFENDANT ATTORNEY CIPORA WINTERS TO RECUSE
HERSELF FROM REPRESENTING DEFENDANT AHUVA GRUEN

ON 3.27.2024 PLAINTIFF SUBMITTED COPIES OF CORRESPONDENCE TO THE U. S COURT OF
APPEALS FOR THE THIRD CIRCUIT.MOTIONS FILED TO THE SUPERIOR COURT OF N.J
APPEALLTE DIVISION AND TO THE N.J SUPREME COURT AND A LETTER FROM THE STATE OF
N.Y ON JUDICIAL CONDUCT

ON 5.14.2024 PLAINTIFF SUBMITTED A COPY OF A MOTION TO PROCEED AS INDIGENT TO
THE SUPERIOR COURT OF N.J APPELLATE DIVISION AND THE N.J SUPREME COURT

ON 5.29.2024 PLAINTIFF SUBMITED HIS REPLY BRIEF TO THE UNITED STATES COURT OF
APPEALS FOR THE THIRD DISTRICT

ON 6.11.2024 PLAINTIFF SUBMITTED DOCUMENTS FROM THE SUPERIOR COURT OF N.J
APPELLATE DIVISION DENYING PLAINTIFF’S MOTION

\ YOEL GRUEN DATE

n Kings County
Expires Oct 4, 2025

Notice and Demand
7.22.2024

JUDGE GREGORY GLIEDMAN
330 JAY STREET

BROOKLYN, N.Y 11201
P.347.401.9610
F.347.401.9609
geliedma@nycourts.gov

kingsfamilycourt@nycourts.gov

Notice and Warning to Cease and Desist your illegal involvement of the unjust and harmful

damage to the character of Yoel Gruen for your own benefit

Untrue and false propaganda of statements by you Judge Gregory Gliedman has cost thousands of
dollars in damages to the reputation of Yoel Gruen is false and fabricated. These statements

have specifically appeared to be design to injure and wrongfully harm Yoel Gruen

Furthermore, ! am requesting that you Judge Gregory Gliedman Stop Abusing your Authority as judge by
forcing me to use Mr. Jacob Silver as my Attorney against my will

Furthermore, stop abusing your authority as a judge forcing me to undergo a psychological evaluation

against my will.

You are hereby to cease-and-desist or legal action will follow
Cj oe! Fry) 7A. AIRY a
cc: The People’s Advocacy Group (PAG)

National Coalition for Civil Rights

>| 2 »/ OLY

The People’s Advocacy Group (PAG) on behalf of Yoel Gruen

DANIEL GIL
Notary Public - State of New York
NO. 01G16422907
Qualified in Kings County

f My Commission Expires Oct 4, 2025

Notice and Demand
7.22.2024

MR JACOB SILVER

26 COURT STREET #1201

BROOKLYN, N.Y 11242

P.718.855.3834

F.718.534.0057
silverbankruptcy@gmail.com

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Notice and Warning to Cease and Desist your illegal involvement of the unjust and harmful
damage to the character of Yoel Gruen for your own benefit

Untrue and false propaganda of statements by you Jacob Silver has cost thousands of
dollars in damages to the reputation of Yoel Gruen is false and fabricated. These statements

have specifically appeared to be design to injure and wrongfully harm Yoel Gruen

You are % e to cease-and-desist or legal action will follow

Soi Crt F.PD. QIg

cc: The People’s Advocacy Group (PAG)

National Coalition for Civil Rights

The People’s Advocacy Group (PAG) on behalf of Yoel Gruen

DANIEL GIL
Notary Public - State of New York
NO. 01Gi6422907

Qualified in Kings County
ommission Expires Oct 4, 2025

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330 JAY SI
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
225 CADMAN PLAZA EAST
BROOKLYN N.Y. 11201

YOEL GRUEN
Vs.

AHUVA GRUEN, et al

DOCKET NO. 1:24-cv-00094-NRM-LB

TO THE HONORABLE JUDGES:

On 1.30.2024 In Exhibit Number One Defendant Judge Gregory Gliedman Once Again made an

Order in Favor of Defendant Ahuva Gruen.

The Defendant Judge Gregory Gliedman

1. Failed to State that the Defendant Jacob Silver Esq. works Together with the Defendant Shalom
Task Force Who’s Representing the Defendant Ahuva Gruen

2. The Defendant Judge Gregory Gliedman has a Federal Law Suit against him by the Plaintiff Yoel
Gruen and is Deliberately Misusing and Abusing his power as a Judge with Retaliation against the
Plaintiff stating that the Plaintiff was yelling over him which in fact Never Happened

3. Plaintiff is requesting that the Defendant Judge Gregory Gliedman have a Judicial Evaluation if
the Judge is fit to use the proper conduct as a judge in a Family Court Proceeding

4. The Defendant Gregory Gliedman should have recused himself knowing that there is an open
Federal Lawsuit by the Plaintiff Against Him. The Lawfully thing to do would have been for the
Defendant Judge Gregory Gliedman to have another Judge hear the case and Recuse Himself
Because of a Conflict of Interest.
Is the Defendant Judge Gregory Gliedman Immune for following Ethical Judicial Conduct?

5. Plaintiff Demands Trial by Jury

Ay 26. GORY

<r

S YOEL GRUEN DATE
